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    AO 91 (Rev. 11/11) Criminal Complaint


                                         UNITED STATES DISTRICT COURT                                      FILED IN THE
                                                                                                       U.S. DISTRICT COURT
                                                                   for the                       EASTERN DISTRICT OF WASHINGTON


                                                    Eastern District
                                                   __________        of Washington
                                                               District of __________
                                                                                                  Jan 19, 2024
                      United States of America                        )                               SEAN F. MCAVOY, CLERK

                                 v.                                   )
                                                                      )       Case No. 1:24-MJ-04012-ACE
                  JESUS BIRRUETA-MENDOZA                              )
                  GERMAIN REYNA SAUCEDO                               )
                                                                      )
                                                                      )
                              Defendant(s)


                                                   CRIMINAL COMPLAINT
             I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
    On or about the date(s) of                 January 18, 2024              in the county of                Yakima                 in the
          Eastern          District of         Washington         , the defendant(s) violated:

                  Code Section                                                  Offense Description
    21 United States Code, SectionV              Possession With Intent to Distribute 50 Grams or More of Methamphetamine
    841 (a)(1), (b)(1)(A)(viii)




             This criminal complaint is based on these facts:
    On or about January 18, 2024, in the Eastern District of Washington, Defendant did knowingly and intentionally
    possess with the intent to distribute 50 grams or more of methamphetamine, a Schedule II controlled substance, in
    violation of Title 21, United States Code, SectionV841(a)(1), (b)(1)(A)(viii).



             ✔ Continued on the attached sheet.
             u

                                                                              DAINA M NUNEZ Digitally signed by DAINA M NUNEZ
                                                                                            Date: 2024.01.19 14:17:14 -08'00'

                                                                                                 Complainant’s signature

                                                                                'DLQD1XQH]6SHFLDO$JHQW+RPHODQG6HFXULW\,QYHVWLJDWLRQV
✔   6ZRUQWRWHOHSKRQLFDOO\DQGVLJQHGHOHFWURQLFDOO\                                             Printed name and title

    Sworn to before me and signed in my presence.


    Date:             01/1/2024
                                                                                                    Judge’s signa
                                                                                                            signature

    City and state:                      Yakima, Washington                    ALEXANDER C. EKSTROM, U.S. Magistrate Judge
                                                                                                  Printed name and title


       $86$ MDM                             &2817< YAKIMA
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             AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, Daina Nunez, having been duly sworn, do hereby depose and state as

follows:

      1.      On January 11, 2024, HSI Yakima received information from a

cooperating individual (CI) about a subject – later identified as Jesus BIRRUETA

Mendoza – involved in drug smuggling. The CI said BIRRUETA had access to 50

pounds of methamphetamines and was offering to “front” a sample of the product

available.

      2.      The CI considered Confidential and Reliable. The CI worked in the

past for consideration on Federal Drug Trafficking Crimes. The CI fully

cooperated and was able to reduce his / her sentence. During the CI’s assistance,

which began in late 2017, he /she completed over 20 controlled purchases of

cocaine, marijuana, heroin, Fentanyl laced pills and methamphetamine. The

purchases of methamphetamine had a combined weight of over 3000 grams and

were obtained on numerous occasions. The CI assistance led to several arrests and

convictions for Federal and State drug trafficking crimes and firearm violations. To

my knowledge, at no time, while working as a CI has he / she provided false

information to Law Enforcement. The CI is an admitted ex-drug trafficker to

include pound quantities of methamphetamine. The CI has a strong working

knowledge of drug trafficking organizations and how they operate. The CI also


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has a strong knowledge of how drugs are packaged, sold, transported, and

delivered, to include methamphetamine. After serving a Federal Prison sentence of

almost two years, he / she was released early from Federal Probation due to

compliance with his / her set conditions. According to a current NCIC Criminal

History Check (1/18/24), the CI is a one-time convicted felon, stemming from the

incident listed above. The CI also has two convictions for Vehicle Meddling from

2013, which is over 10 years old.

      3.      On January 11, 2024, a CI met with BIRRUETA and was given

approximately 40 grams of methamphetamines. BIRRUETA arrived at the

predetermined meet location driving a Dodge Durango bearing Washington State

license plate CEJ3920. The transaction was observed by HSI agents.

      4.      On January 17, 2024, the CI contacted BIRRUETA and made

tentative arrangements to purchase 50 pounds of methamphetamines for

$60,000.00.

      5.      On January 18, 2024, at approximately 12:30 pm, the CI contacted

BIRRUETA and made arrangements to meet at the Bi-Mart located in Sunnyside,

Washington. Agents visually monitored the location.

      6.       At approximately 1:50pm, agents observed BIRRUETA arriving at

the location driving the above-mentioned Dodge Durango. BIRRUETA was the

driver of the Dodge Durango and was accompanied by one passenger, later


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identified as Germain REYNA Saucedo. The conversation between BIRRUETA

and the CI was monitored and conducted in Spanish. DEA Task Force Officer

(TFO) A. GarciaZKRVSHDNV6SDQLVK heard the CI ask where the drugs were

located and be told that they were in the back seat. The CI was then instructed to

open the back driver side door of the Durango by one of the occupants of the

vehicle. TFO Garcia could hear plastic moving as agents observed the CI looking

in the backseat. BIRRUETA told the CI the bag contained 25 pounds, half of the

agreed upon weight.

      7.    Agents moved in and arrested both subjects. Agents could see a

handgun inside a holster on REYNA’s waistband as he complied with commands

during the arrest. In addition to the handgun, REYNA had approximately

$1600.00 in United States currency on his person. Agents could see a large black

plastic garbage bag on the backseat of the Durango, the garbage bag was lumpy as

if it contained multiple smaller packages.

      8.    The CI was debriefed following the meet and the CI told agents when

he opened the bag he observed what was believed to be methamphetamines inside

Ziploc bags. Based on experience, the CI believed they were individually wrapped

one pound packages.

      9.    The Dodge Durango was towed and a secured pending an application

for a search warrant.


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      10.    After being advised of his rights, REYNA requested to speak with an

attorney before answering any questions. After requesting an attorney, REYNA

voluntarily stated that the driver was giving him a ride to Seattle. Agents

interviewed BIRRUETA and, after being advised of his rights, BIRRUETA stated

he was getting paid $500.00 to make a delivery but denied knowing what was

inside the bag he was delivering. BIRRUETA said he did not know the individual

he was meeting in Sunnyside and that he received a phone call directing him to

make the delivery.

      11.    On January 19, 2024, agents applied for and were granted a search

warrant for the Dodge Durango related to violations of 21 USC § 841(a)(1). The

warrant was signed in the Eastern District of Washington by the Honorable

Alexander C. Ekstrom, United States Magistrate Judge, on January 19, 2024 (1:24-

MJ-04011-ACE). Pursuant to the search warrant, on January 19, 2024, agents

opened the black plastic bag on the back seat of the Durango. Inside the bag were

25 individually wrapped packages containing a white crystal substance. Using a

Marquis Reagent field test, the white substance was tested a found to be positive

for amphetamines. The packages of the white substance weighed 25.70 pounds,

which is approximately 11,657 grams.

      12.    Based on my training and experience, I know 25 pounds of

methamphetamines is well above what a typical user retains for personal use, and


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that such large quantities are indicative of an intent to divide, package and resell

the narcotics. Further, based upon the circumstances related above, BIRRUETA

and REYNA came to the location for the expressed purpose of distributing the

methamphetamines.

                                  CONCLUSION

      13.    Based on the large amount of suspected methamphetamines

recovered, I believe that on or about January 18, 2024, BIRRUETA and REYNA,

in the Eastern District of Washington, did commit a violation of 21 U.S.C. § 841(a)

in that they possessed with intent to distribute and dispense a controlled substance,

to wit: methamphetamine over the amount of 50 grams.

      I declare and affirm under penalty of perjury that the foregoing is true and

correct to the best of my knowledge.

                                         DAINA M NUNEZ Digitally signed by DAINA M NUNEZ
                                        __________________________________
                                                            Date: 2024.01.19 14:18:19 -08'00'

                                        Daina Nunez, Special Agent
                                        Homeland Security Investigations


                                                            19th day of January
SUBSCRIBED electronically and sworn to telephonically this ____
2024.



                                        __________________________________
                                        ____________________
                                        Alexander
                                        Alexxander C. Ekstrom
                                        United States Magistrate Judge



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